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                                          ANDREW         J.   FRISCH.        PLLC

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                                                  May 16, 2018

            ByECF                                                                                 FILED
            The Honorable /uthur D. Span                                                      INCLERK'Sy,F[:\CE         ,
                                                                                      U.S. DISTRICl COu" i"E.O N.Y,
            United States District Judge
            Eastem District of New York
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                                                                                       *        MAY 16 2011             *        \

            Central Islip, New York 11722                                              LONG ISLAND OFFICE

                           Re: UnitedStaresv. Adt1m Afanson
                               Criminal Docket Number 13-453 (ADS)(AKT)

            Dear Judge Spatt:

                           lJ pon coruAJltat.ion with the Court's cut manager, the   govemrnent and the
            assigned probation officer. and with their consent, I respectfully request that sentencing in the
            aboveereferenced case be rescheduled to September4, 20Ji8,at 10:00 a.m. to accommodate all
            relevant schedules and to pennit the parties a further opportunity to resolve disputed issues.

                                                  Respectfully submitted,


                                                  Is/
                                                  Andrew J. Frisch

            cc: AUSA Cafferone
               U.S.P.O. Langone
..... ,~.

                    s/ Arthur D. Spatt




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